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 2
                              UNITED STATES DISTRICT COURT
 3
                                  EASTERN DISTRICT OF CALIFORNIA
 4
 5   MICHELLE RIVAS, et al.,                                 CASE NO. 1:08-cv-00942 –– SKO
 6                           Plaintiffs,
                                                             ORDER TO SHOW CAUSE
 7
              v.
 8
 9   CALIFORNIA FRANCHISE TAX
     BOARD, et al.,
10
                             Defendants.
11
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12
13            On September 14, 2011, this Court issued an Order of Reassignment due to the retirement
14   of Senior United States District Court Judge Oliver W. Wanger. (Doc. 38.) The Order withdrew
15   Judge Wanger's assignment to the action and ordered the parties to affirmatively indicate whether
16   they would consent or decline to the jurisdiction of the assigned United States Magistrate Judge. The
17   parties were ordered to complete and file a Consent/Decline form within thirty (30) days. More than
18   thirty (30) days have passed and all parties have not filed the required form.
19            Accordingly, the parties that have not filed the form are ORDERED TO SHOW CAUSE why
20   sanctions should not be imposed for failing to comply with the Court’s September 14, 2011, Order.
21   The parties SHALL file a written response to this Order to Show Cause within twenty (20) days of
22   the date of service of this Order. Alternatively, the parties may comply with this Order to Show
23   Cause by filing the required Consent/Decline form within twenty (20) days of the date of service of
24   this Order.
25
26   IT IS SO ORDERED.
27   Dated:        October 24, 2011                     /s/ Sheila K. Oberto
     ie14hj                                     UNITED STATES MAGISTRATE JUDGE
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